                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

BELLSOUTH TELECOMMUNICATIONS,     )
LLC d/b/a AT&T TENNESSEE,         )
                                  )
     Plaintiff,                   )
                                  )
v.                                ) Case No. 3:16-cv-2509
                                  ) Judge Aleta A. Trauger
THE METROPOLITAN GOVERNMENT       )
OF NASHVILLE AND DAVIDSON COUNTY, )
TENNESSEE, et al.,                )
                                  )
     Defendants.                  )

-------------------------------------------------consolidated with---------------------------------------------

COMCAST OF NASHVILLE I, LLC,      )
                                  )
     Plaintiff,                   )
                                  )
v.                                ) Case No. 3:16-cv-2794
                                  ) Judge Aleta A. Trauger
THE METROPOLITAN GOVERNMENT       )
OF NASHVILLE AND DAVIDSON COUNTY, )
TENNESSEE, et al.,                )
                                  )
     Defendants.                  )


           NASHVILLE ELECTRIC SERVICE’S PRELIMINARY RESPONSE TO
                      PLAINTIFFS’ AMENDED COMPLAINTS


        In accordance with this Court’s November 21, 2017, Order, and in response to

AT&T of Tennessee’s and Comcast of Nashville I, LLC’s, amended complaints,

Nashville Electric Service (“NES”) files this preliminary response.

        As to the Court’s reasoning and conclusions related to Counts I and III, NES has

no legal interest in those claims, as they are asserted against only the remaining




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Defendants. As a result, NES takes no position on the Court’s reasoning and

conclusions as to those counts.

       As to the Court’s reasoning and conclusions related to Count II, NES takes no

position on the Court’s reasoning and conclusions as to Plaintiffs’ standing and the

existence of a private right of action. Furthermore, NES takes no exception to the

Court’s reasoning and conclusions as to whether the remaining Defendants violated the

Metro Charter by enacting the ordinance at issue in the litigation.

       In sum, NES has no objection to the Court entering the declaration and injunction

sought by Plaintiffs.

                                                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing Preliminary
Response was filed with the Court via the ECF/CM system on December 13, 2017, and
that it is anticipated that the Court’s electronic system would serve the following counsel
of record via electronic delivery on the same date:

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